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                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                          Case No.: 04−19148−MS
                                          Chapter: 11
                                          Judge: Morris Stern

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   GEO Specialty Chemicals, Inc.                            GEO Specialty Chemicals Limited
   First & Essex Streets                                    3201 Enterprise Parkway
   Harrison, NJ 07029                                       Cleveland, OH 44122
Social Security No.:

Employer's Tax I.D. No.:
  34−1708689

                                                    FINAL DECREE



       The estate of the above named debtor(s) has been fully administered.

       If this case is a Chapter 11 or 13, the deposit required by the plan will be distributed, and it is

      ORDERED that is discharged as trustee of the estate of the above named debtor(s) and the bond is
canceled; and the case of the above named debtor(s) is closed.


Dated: June 28, 2006                         Morris Stern
                                             Judge, United States Bankruptcy Court
